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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA


       1199SEIU UNITED                       )
       HEALTHCARE WORKERS EAST,              )
                                             )   No. 1:20-cv-24069-RNS
             Plaintiff,                      )
                                             )   Hon. Robert N. Scola, Jr.,
             v.                              )   District Judge
                                             )
       LOUIS DEJOY, Postmaster               )   Hon. Jonathan Goodman,
       General and Chief Executive           )   Magistrate Judge
       Officer of the United States Postal   )
       Service; and the UNITED STATES        )
       POSTAL SERVICE,                       )
                                             )
             Defendants.                     )

                           PLAINTIFF’S STATUS REPORT

         Plaintiff submits this status report in advance of the status conference

  scheduled for this morning, November 3, 2020, at 10:30am, in order to update the

  Court regarding the all clear reports provided by the Defendants to Plaintiff for

  USPS retail/delivery facilities, per the Court’s Order of November 2, 2020 (ECF No.

  63).

  I.     Update regarding USPS all clear data for retail facilities.

         In accordance with this Court’s Fourth Non-Final Order, dated November 2,

  2020 (ECF No. 63), Defendants provided Plaintiff with all-clear reports regarding

  Florida retail/delivery facilities before 9:00am ET this morning. Plaintiff is




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  attaching copies of these data, described presently, as exhibits to this status report

  to ensure the completeness of the record: 1

             •   All clear reports for delivery/retail facilities in the South Florida Postal
                 District as of the end of the day November 2, 2020. Attached hereto as
                 Exhibit 46.

             •   All clear reports for delivery/retail facilities in the Suncoast Postal
                 District as of the end of the day November 2, 2020. Attached hereto as
                 Exhibit 47.

             •   All clear reports for delivery/retail facilities in the Gulf Atlantic Postal
                 District as of the end of the day November 2, 2020. Attached hereto as
                 Exhibit 48.

         The all clear reports described above show one instance where a facility—the

  Downtown Boca Raton Post Office—reported less than full compliance as of the end

  of the day November 2, 2020. Defendants have provided the following explanation

  for that instance:

         The only facility that initially did not report an all-clear was Boca Raton, but
         submitted an incomplete survey. We followed up this morning, and that
         facility has is now certified and complete. All three Florida district/delivery
         units are now fully certified.

  Plaintiffs are satisfied by this response.

  II.    Update regarding Princeton Post Office.

         The Court’s Fourth Non-Final Order directed that “By 9:00 a.m. on November

  3, 2020, the Defendants shall provide the Plaintiff with a report certifying whether

  or not ballots remain in the backlogged mail at the Princeton Post Office.” (ECF No.




  1 The data were provided to Plaintiff in native excel spreadsheet format, but are being filed as PDFs

  in compliance with CM/ECF requirements. The excel spreadsheets are available from counsel upon
  request.

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  63.) Plaintiff received that report from Defendants’ counsel by email before 9:00am

  EF. Defendants’ counsel state as follows:

        Postal Managers have completed searching all 180,000 pieces of delayed mail
        and no additional ballots were located Monday. The 62 ballots that were
        discovered over the past weekend were all immediately delivered to the BOE
        or the customers addressed, or returned to sender when delivery was not
        possible. No delayed ballots are on-hand in the Princeton Post Office this
        morning.

  In light of Defendants’ certification that no ballots remain in the backlog at the

  Princeton Post Office, Plaintiff seeks no further relief on this matter at this time.


                                *             *            *


        Plaintiff will be prepared to discuss all of these matters and any others that

  may come to its attention at the 10:30am status conference today, although the

  parties understand if the Court wishes to defer that status conference in light of the

  reporting above. In all events, Plaintiff would respectfully ask the Court to schedule

  a further status conference this afternoon, at 2pm ET or soon thereafter, in order to

  address any issues that may arise with respect to the all-clear reports from USPS’s

  Florida processing plants, which Defendants are required to report to Plaintiff by

  1pm ET, and to address any other issues that may arise before then.



                                                  RESPECTFULLY SUBMITTED,


                                                  1199SEIU, et al.

                                                  By: /s/ Jonathan Manes
                                                  One of Plaintiff’s Attorneys

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  Jonathan Manes
  RODERICK & SOLANGE MACARTHUR JUSTICE CENTER
  160 E Grand Ave, 6th Fl
  Chicago, IL 60611
  Tel: 312-503-0012
  Fax: 312-503-0891
  jonathan.manes@law.northwestern.edu
  David J. Bradford
  Daniel J. Weiss
  Ashley M. Schumacher
  JENNER & BLOCK LLP
  353 North Clark Street
  Chicago, Illinois 60654-3456
  Telephone: (312) 222-9350
  Fax: (312) 527-0484
  dbradford@jenner.com
  dweiss@jenner.com
  aschumacher@jenner.com
  Nayiri Pilikyan
  JENNER & BLOCK LLP
  633 West 5th Street, Suite 3600
  Los Angeles, California 90071-2054
  Telephone: (213) 239-5700
  Fax: (213) 239-5199
  npilikyan@jenner.com
  Jon Loevy
  Gayle Horn
  Anand Swaminathan
  Steve Art
  Julia Rickert
  LOEVY & LOEVY
  311 N. Aberdeen St.
  Chicago, IL 60607
  (312) 243-5900
  steve@loevy.com
  Igor Hernandez
  CORNISH HERNANDEZ GONAZLEZ
  2525 Ponce de Leon Blvd. Suite 300
  Coral Gables, FL 33134



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  (305) 501-8021                           Dated:November 3, 2020
  Ihernandez@chglawyers.com                      Chicago, IL




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 27, 2020, a true and correct copy of the

  foregoing document and all attachments was electronically filed with the Clerk of

  the Court using the CM/ECF system, which will send a notice of electronic filing to

  all counsel of record.


  Executed on November 3, 2020                 /s/ Jonathan Manes
                                               One of Plaintiff’s Attorneys




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